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BY E-FILE                                             November 25, 2024

The Honorable Jennifer L. Hall
United States District Court
  for the District of Delaware
844 N. King Street
Wilmington, DE 19801

        Re:     Getty Images (US), Inc. v. Stability AI, Ltd., et al., C.A. No. 23-135-JLH

Dear Judge Hall,

        I write on behalf of Plaintiff Getty Images (US), Inc. (“Getty Images”) to follow up on
the parties’ August 9, 2024 Joint Status Report (D.I. 52). In the Status Report, Getty Images
explained that, without moving for a stay, Defendants have refused to participate in a Rule 26(f)
conference or to otherwise commence merits discovery. (D.I. 52 at 3-5.) Since the filing of the
Joint Status Report, Defendants have remained unwilling to engage regarding discovery—in
contravention of Fed. R. Civ. P. 26(f)(1)’s requirement that the parties “confer as soon as
practicable.” In effect, they have been helping themselves to a discovery stay without bothering
to move for one.

        Getty Images respectfully requests that the Court order the parties to hold a conference
pursuant to Rule 26(f) and commence discovery. Such an order is the appropriate outcome in the
rare instance such as this case where a party simply refuses to meet its discovery obligations
without any justification. See, e.g., Midwest Energy Emissions Corp. et al. v. Arthur J.
Gallagher & Co., et al., C.A. No. 19-1334-CJB, D.I. 105 (D. Del. May 11, 2020) (ordering Rule
26(f) conference despite defendant’s request to defer conference due to pending motion to
dismiss); Kraft Foods Grp. Brands LLC v. TC Heartland LLC, No. 14-28, D.I. 32 (D. Del. Jan.
7, 2015) (oral order denying defendants’ request to stay entry of a scheduling order due to a
pending motion to dismiss). It is especially appropriate here where Defendants concede that the
case will proceed against them in federal court, regardless of the outcome of their pending
renewed motions to dismiss or to transfer.1


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  Getty Images understands that the Court inherited hundreds of motions and is not seeking to
rush the Court’s consideration of the Defendants’ renewed motions to dismiss or to transfer.
Getty Images’ request relates only to the portion of the Joint Status Report regarding a Rule 26(f)
conference and the commencement of merits discovery.

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       This case has been pending since February 3, 2023, and Getty Images respectfully
requests that the Court order Defendants to stop delaying and proceed as required by Rule 26.


                                                    Respectfully submitted,

                                                    /s/ Robert M. Vrana

                                                    Robert M. Vrana (No. 5666)




cc: All Counsel of Record (via CM/ECF and email)




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